INSD Change of Attorney Information (Rev. 2/16)
         Case 1:17-cv-00624-TWP-MJD Document 270 Filed 02/28/18 Page 1 of 1 PageID #: 2666

                                                  UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana


                                                      NOTICE OF CHANGE OF
                                                     ATTORNEY INFORMATION

     TO: THE CLERK OF THE COURT AND ALL OTHER PARTIES

                      I have no pending cases in the District Court for the Southern District of Indiana.

               ✔      I have pending case(s) in the District Court for the Southern District of Indiana.

                                                                          )
                                                                            1:17-CV-00624-TWP-MJD
                                                                          )
                                                                          )
                                  Pending Case No(s).1                    )
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                                                                          )
                                                                          )


     Pursuant to Local Rule 5-3, the undersigned counsel notifies the Clerk=s Office of the following changes:

                                                   Previous Information:                                             Current Information:

                        Name: Benjamin H. Richman                                                    Benjamin H. Richman

                Law Firm, Edelson PC                                                                 Edelson PC
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            and/or Agency:

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                    02/28/2018
              Date: ________________                                                                Benjamin H. Richman
                                                                                                 s/ ______________________________


     1
         Identify each case in which you have filed a Notice of Appearance and the case is still pending. This Notice must be filed in each pending case.
